         SETH C. GAGLIARDI
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 8                           UNITED STATES DISTRICT COURT
 9
                   SOUTHERN DISTRICT OF CALIFORNIA
10
l l UNITED STATES OF AMERICA,     Case No.: '18 MJ 81                       79
12                              Plaintiff,
                                                   COMPLAINT FOR VIOLATION OF
13         V.
                                                   Title 21 U.S.C. § 952 and 960
14                                                 Importation of a Controlled Substance
     Armando HERNANDEZ Jr,                         (Felony)
15
16                             Defendant.
17H-~~~~~~~~~~~~~


18
19         The undersigned complainant being duly sworn states:

20                                              COUNTl
21
            On or about January 26, 2018, within the Southern District of California, defendant,
22
23 Armando HERNANDEZ Jr., did knowingly and intentionally import 500 grams and more,
                              /
24 to wit: approximately 6.82 kilograms (15.03 pounds), of a mixture or substance containing
25                                        _,,/
     a detectable amount of methamphetamine, a Schedule II Controlled Substance, into the
26
27 United States from a place outside thereof, in violation of Title 21, United States Code,
28 Sections 952 and 960.
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 1                                           COUNT2

 2         On or about January 26, 2018, within the Southern District of California, defendant,
 3
     Armando HERNANDEZ Jr., did knowingly and intentionally import 1 kilogram and more,
 4
                                         /
 5 to wit: approximately 1.36 kilograms (2.99 pounds), of a mixture or substance containing a
 6 detectable amount of heroi/a Schedule I Controlled Substance, into the United States
 7
     from a place outside thereof; in violation of Title 21, United States Code, Sections 952 and
 8
 9 960.

10 The complainant states that this complaint is based on the attached Probable Cause
11
     Statement incorporated herein by reference.
12
13
14                                                 ~~allaga
                                                   Homeland Security Investigations
15

16 SWORN TO BEFORE ME AND SUBSCRIBED IN MY PRESENCE, THIS 29th, DAY
17 OF JANUARY 2018.
18
                                HONORABLE P TE C. LEWIS
19                              UNITED STATES MAGISTRATE JUDGE
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             Case 2:18-mj-08179-PCL Document 1 Filed 01/29/18 PageID.3 Page 3 of 5

     United States of America
 1
                 v.
 2 Armando HERNANDEZ Jr.
 3
                                    PROBABLE CAUSE STATEMENT
 4
            I, Task Force Officer Miguel Gallaga of Homeland Security Investigations, declare
 5
 6 under penalty of perjury the following probable cause statement is true and correct:
 7
            On January 26, 2018, at approximately 2:40 p.m., Customs and Border Protection
 8
     Officer (CBPO) M. Cardenas and his assigned canine partner, were conducting pre-
 9
10 primary operations at the Calexico, California West Port of Entry.
11
            At approximately 2:45 p.m., CBPO Cardenas and his canine partner conducted an
12
     exterior canine sniff of a Honda Odyssey bearing Arizona license plates. CBPO Cardenas
13
14 noticed his canine positively alerted to the middle area of the vehicle. This information
15
     was communicated to CBPO J. Gaytan, who was assigned to primary inspection.
16
            At approximately 2:50 p.m., the Honda Odyssey arrived at primary inspection.
17
18 CBPO Gaytan questioned the driver, Armando HERNANDEZ JR (HERNANDEZ), if he
19
     had anything to declare and received a negative customs declaration.       CBPO Gaytan
20
21 referred the vehicle to secondary inspection to further investigate the canine's positive
22 alert.
23
            At secondary inspection, CBPO J. Lizarraga, who was assigned to operate the Z-
24
25 Portal X-ray machine, instructed HERNANDEZ to drive slowly through the Z-Portal.
26 CBPO Lizarrraga noticed anomalies in the rear seats of the vehicle. CBPO Lizarraga
27
     instructed HERNANDEZ to park the vehicle in the secondary inspection lot.
28

                                                 3
             Case 2:18-mj-08179-PCL Document 1 Filed 01/29/18 PageID.4 Page 4 of 5

           CBPO J. Burgos approached the Honda Odyssey and instructed HERNANDEZ to
 1
 2 exit the vehicle.    CBPO Burgos searched the seats of the vehicle and subsequently
 3
     removed 10 packages that were concealed within the rear seats. CBPO Nichols utilized
 4
 5 the Gemini Field Test Kit to test the content of the packages. CBPO Nichols noticed that
 6 seven packages contained a white crystalline substance that field tested positive for
 7
     methamphetamine. CBPO Burgos field tested the other three packages. CBPO Burgos
 8
 9 noticed that three packages contained a brown substance that field tested positive for
10 heroin.
11
           At approximately 4:01 p.m., HERNANDEZ was placed under arrest.         The total
12
13 weight for the seven packages containing methamphetamine was approximately 6.82
14 kilograms (15.03 pounds). The total weight of the three packages containing heroin was
15
     1.36 kilograms (2.99 pounds).
16
17         During a post-arrest interview, HERNANDEZ was advised of his rights as per

18 Miranda. HERNANDEZ stated he understood his rights and agreed to answer questions.
19
   HERNANDEZ admitted to knowingly transporting the narcotics. HERNANDEZ stated he
20
21 was instructed to transport the narcotics to Los Angeles, California. HERNANDEZ stated

22 he was going to receive payment but was not sure of the exact amount.
23
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 6 Executed on 1/27/2018 at 9:45 p.m.


                                                  M~~Officer
 7
 8
 9                                                Homeland Security Investigations

10 On the basis of the facts in this probable cause statement consisting of 2 pages, I find
11 probable cause to believe that the defendant named in this probable cause statement
     committed the offense on 01/26/2018 in violation of Title 21 U.S.C Section 952 &960.
12
13

                                                               10:39 PM, Jan 27, 2018
   Honoroble Jan M. Adler
16 United States Magistrate
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